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                PSJ9 Exh 31
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     1              IN THE UNITED STATES DISTRICT COURT

     2                FOR THE NORTHERN DISTRICT OF OHIO

     3                            EASTERN DIVISION

     4

     5    ----------------------------x

     6    IN RE: NATIONAL PRESCRIPTION ) MDL No. 2804

     7    LITIGATION                             ) Case No. 17-md-2804

     8    This document relates to:              ) Hon. Dan A. Polster

     9    All Cases                              )

   10     ----------------------------x

   11          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

   12                      CONFIDENTIALITY REVIEW

   13          VIDEOTAPED DEPOSITION OF TINA STEFFANIE-OAK

   14                          YORK, PENNSYLVANIA

   15                       MONDAY, MARCH 11, 2019

   16                                9:34 A.M.

   17

   18

   19

   20

   21

   22

   23

   24     Reported by: Leslie A. Todd

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     1    BY MR. MIGLIORI:




     9            Q     "I learned from a recent conversation

   10     with Shaun Abreu, Verifications manager, that the

   11     number of active accounts ordering controlled

   12     substance products is now closer to 40,000, and

   13     that we have completed due diligence for about

   14     13,000 accounts."

   15                   Were you aware of that information from

   16     Shaun Abreu?

   17             A     At that point --

   18                   MS. FINCHER:       Object to the form.

   19                   THE WITNESS:       -- in time, yes.

   20     BY MR. MIGLIORI:

   21             Q     Okay.     "So, therefore, the gap is now

   22     approximately 27,000 accounts."

   23                   Do you recall that being based on 2012

   24     numbers, the number of accounts that had no due

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     1    diligence or completed due diligence?

     2            A     I recall based off of reading this

     3    e-mail.

     4            Q     Okay.     So going back to my earlier

     5    question when you said there was a small amount of

     6    backlog, will you agree with me that 27,000 out of

     7    40,000 customers is not a small amount of due

     8    diligence backlog?

     9                  MS. FINCHER:       Object to the form.

   10                   THE WITNESS:       Yes.

   11     BY MR. MIGLIORI:

   12             Q     All right.       "Based on year-to-date

   13     records, we can expect Regulatory Affairs to

   14     process 400 to 450 due diligence files each year."

   15                   Was that a statistic or a projection

   16     that you put together?

   17                   MS. FINCHER:       Object to the form.

   18                   THE WITNESS:       I don't recall.        I may --

   19     I'm sure I had input, but I'm not sure if I'm the

   20     only one that reviewed that.

   21     BY MR. MIGLIORI:

   22             Q     Okay.     Let me explore that a little bit.

   23     If you're bringing on 1560 new accounts ordering

   24     controlled substances each year, of those, are --

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     1    is it only a fraction of those getting due

     2    diligence files updated?

     3                  MS. FINCHER:       Object to the form.

     4                  THE WITNESS:       Can you repeat that again?

     5    BY MR. MIGLIORI:

     6            Q     Sure.     I'm trying to understand of the

     7    400 to 450 files this year, is that the backlog

     8    project or is that new -- new customers?

     9                  MS. FINCHER:       Object to the form.

   10                   THE WITNESS:       It -- it would include

   11     both.

   12     BY MR. MIGLIORI:

   13             Q     Okay.     So we can agree that by the end

   14     of 2012, when you had your appraisal that we --

   15     your -- your work appraisal that we looked at,

   16     Exhibit No. 4, at the end of that year, based on

   17     the statistics that you gave to Sergio Tejeda,

   18     there were approximately 27,000 accounts or

   19     customers in the Henry Schein system that did not

   20     have complete due diligence.

   21                   MS. FINCHER:       Object --

   22     BY MR. MIGLIORI:

   23             Q     Correct?

   24                   MS. FINCHER:       Object to the form.

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     1    Mischaracterizes the document.

     2                  THE WITNESS:       Correct, but I still stand

     3    by what I said in 2012, I was not aware of that

     4    information.

     5    BY MR. MIGLIORI:

     6            Q     That's fine.

     7            A     Okay.

     8            Q     And maybe you weren't aware of it.

     9    That's fine.

   10             A     Okay.

   11             Q     But as you're providing this statistical

   12     information --

   13             A     Mm-hmm.

   14             Q     -- in August of 2013 to your

   15     supervisor --

   16             A     Yes.

   17             Q     -- it turned out to be true that in

   18     2012, of the 40,000 customers of Henry Schein,

   19     27,000 of them did not have completed due

   20     diligence in their files, correct?

   21                   MS. FINCHER:       Object to the form.

   22     Mischaracterizes the document.

   23     BY MR. MIGLIORI:

   24             Q     Correct?

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     1            A     Correct.




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     1    due diligence process, we also -- there was a

     2    licensure background check for state level DEA.

     3    There was also an address verification check to

     4    make sure it appeared to be a legitimate address,

     5    a legitimate practice office.

     6                  A Google search.         If there was a website

     7    for the account, we would look at that.

     8    Healthgrades was used to look at different reviews

     9    of the physician.        You know, any information that

   10     was available on the internet.

   11             Q     You would agree with me that all those

   12     sources of information are important to understand

   13     and know your customer, correct?

   14             A     Correct.

   15             Q     And when they had 27,000 cases that did

   16     not have full and complete due diligence, some

   17     aspect of that information was missing in those

   18     27,000 due diligence files, correct?

   19                   MS. FINCHER:       Object to the form.

   20                   THE WITNESS:       Correct.

   21     BY MR. MIGLIORI:




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     1    it's almost noon.        So I'm not sure when you wanted

     2    to take a lunch break.

     3                  MR. MIGLIORI:        Why don't we go off the

     4    record for a second and talk about that.

     5                  THE VIDEOGRAPHER:         11:55.     We're off the

     6    video record.

     7                  (Lunch recess.)

     8                  THE VIDEOGRAPHER:         12:29, we're on the

     9    video record.

   10                   (Steffanie-Oak Exhibit No. 11 was

   11                   marked for identification.)

   12     BY MR. MIGLIORI:

   13             Q     Okay.     I'll show you Exhibit 11.

   14                   Exhibit 11 has a date of November 27,

   15     2013.    It's a PowerPoint presentation with -- that

   16     bears your name on it.          It says "Individual

   17     Opportunity/Issue, Presented by Tina

   18     Steffanie-Oak."

   19                   Did you review this in preparation for

   20     today?

   21             A     I do remember seeing it yesterday.

   22             Q     Okay.     And is this something you

   23     prepared?

   24             A     Yes.

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     1            Q      Okay.    On the second page, it says

     2    "Opportunity/Issue."         It says:     "Are we in

     3    substantial compliance with DEA SOM/Know Your

     4    Customer regulations?"

     5                   And the first bulleted item says:             "We

     6    do not have Know Your Customer Due Diligence for

     7    approximately 60 percent of our customers.

     8    Remaining 40 percent has varying degrees of due

     9    diligence (files are not consistent)."

    10                   First of all, are those your words?

    11            A      Yes.

    12            Q      And the 60 percent represents files that

    13    have no due diligence, correct?

    14                   MS. FINCHER:      Object to the form.

    15                   THE WITNESS:      I don't recall

    16    specifically if some files may have had something.

    17    I can't say with certainty.




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